Case
 Case2:22-cv-02632-JKS-CLW
      2:22-cv-02632-JKS-CLW Document
                             Document316-6
                                      344 Filed
                                           Filed08/06/24
                                                 06/18/24 Page
                                                           Page11ofof77PageID:
                                                                        PageID:28150
                                                                                24198




                                          The Le gal Ce nter
                                        One Ri ver fr ont Pl a za
                                      New ar k, N ew Jer s e y 0 7 102
                                         Tel : (9 73 ) 643 - 70 00
                                         Fax (9 73 ) 6 43- 65 00




    Jeffrey J. Greenbaum
    Member                                                                              101 Park Avenue
                                                                                                28th Floor
    Admitted In NJ, NY                                                               New York, NY 10178
    Direct Dial: 973-643-5430                                                         Tel: (212) 643-7000
    Email:                                                                            Fax: (212) 643-6500
    jgreenbaum@sillscummis.com

                                           December 20, 2023
   The Honorable Freda L. Wolfson
   Lowenstein Sandler LLP
   One Lowenstein Drive
   Roseland, New Jersey 07068

          Re:     Johnson & Johnson Healthcare Systems Inc. v. Save On SP, LLC
                  Case No. 2:22-cv-02632 (ES) (CLW)

   Dear Judge Wolfson:

            On behalf of Plaintiff Johnson & Johnson Health Care Systems Inc. (“JJHCS”), we submit
   this letter to provide the current status of this matter, including discovery completed to date and
   potential disputes that may soon require Your Honor’s resolution.

     I.   Background

            JJHCS brought this action to recover damages and enjoin SaveOnSP’s unlawful scheme to
   exploit JJHCS’s copay assistance programs that provide funds to help patients afford their
   medication. SaveOnSP instead captures the JJHCS patient assistance funds for its own benefit and
   that of its business partners in the health insurance industry. The complaint alleges that SaveOnSP
   has caused more than $100 million in damages to JJHCS, and asserts two causes of action—
   tortious interference with contract (Count One) and violation of Section 349 of the N.Y. General
   Business Law, which prohibits consumer deception (Count Two). SaveOnSP concedes the facts
   of how its scheme works and that it costs JJHCS hundreds of millions of dollars per year.

           JJHCS’s copay assistance programs, such as “CarePath,” provide financial support to
   patients taking medications manufactured by other Johnson & Johnson entities to treat cancer and
   other serious illnesses. These programs are necessary because health insurers are increasingly
   shifting ever-higher “out-of-pocket” costs onto patients, forcing patients to abandon treatment or
   otherwise make painful choices about how to make ends meet. (Compl. ¶¶ 36-44.) JJHCS’s
   financial support helps patients avoid that outcome. To participate, patients agree to abide by
   terms and conditions, including that funds “may not be used with any other coupon, discount,
   prescription savings card, free trial, or other offer,” like the SaveOnSP program. (Id. ¶¶ 48, 89.)


   CONFIDENTIAL
Case
 Case2:22-cv-02632-JKS-CLW
      2:22-cv-02632-JKS-CLW Document
                             Document316-6
                                      344 Filed
                                           Filed08/06/24
                                                 06/18/24 Page
                                                           Page22ofof77PageID:
                                                                        PageID:28151
                                                                                24199

   The Honorable Freda L. Wolfson                                                                         Page 2


            SaveOnSP exists, in its own words, “to take full advantage of copay assistance programs
   like CarePath,” seizing these patient assistance funds for itself and its business partners. (D.E. 31-
   1 at 1; see Compl. ¶¶ 1-5, 8-17, 50-88.) First, it partners with health plans and “pharmacy benefits
   manager” Express Scripts to change the designation of J&J drugs—including lifesaving cancer
   drugs and other critical medications—from “essential health benefits” to non-essential, for the sole
   purpose of circumventing the patient protections in the Affordable Care Act. (Id. ¶¶ 9, 10, 28, 43,
   54.)1 This pretextual designation allows the patients’ copay obligation to be grossly inflated,
   usually by thousands of dollars (e.g., from $20 per dose to $3,000 per dose). And JJHCS
   unwittingly foots the bill. The critically ill patient who has been targeted by SaveOnSP then
   receives a big surprise when she tries to fill her prescription. (Id. ¶¶ 3, 8, 10-15.) The pharmacy
   will refuse to fill the prescription until the patient enrolls in SaveOnSP or pays this inflated co-pay
   amount—even though this can cause dangerous delays in patient treatment and even though
   participating in SaveOnSP is a violation of the CarePath terms. (Id. ¶¶ 13-14, 18-20.) Patients
   have little choice but to enroll in SaveOnSP—which is precisely SaveOnSP’s intent.

             These facts are undisputed,

                                                             (D.E. 109 at 8.)



                                                 .2 In her deposition, one SaveOnSP employee


                     See, e.g., Ex. 3 (A. Zulqarnain Depo. Tr.) at 80:7-16, 108:20-24, 111:7-113:5,
   115:13-17, 116:19-21, 132:7-9, 147:5-10, 150:2-6, 170:17-19, 174:7-17. This deception has made
   it impossible for JJHCS to eliminate the improper flow of funds to SaveOnSP and its partners that
   were intended to help patients. Recognizing that JJHCS can stop the bleeding only by prevailing
   at trial, SaveOnSP has sought delay at every turn, collecting millions from JJHCS each month that
   the case goes on. It is therefore imperative that disputes be promptly raised and decided.

       II.   Recent Disputes and the Amended Discovery Schedule

           Until recently, document discovery was drawing to a close. The parties were supposed to
   substantially complete document discovery by September 24, 2023, the result of two extensions
   SaveOnSP had received over JJHCS’s objection. JJHCS had noticed several depositions and all
   fact discovery was to be complete by January 26, 2024.3


   1
     SaveOnSP representatives have admitted that this is how their program operates. (See Compl. ¶ 9 (The
   moment we reclassify these as non-essential we get to operate outside of those [ACA] rules, which removes
   the limitations for how high we set the copay… that’s what allows us to be the most lucrative . . . .”).) As
   the representative admitted, this is done solely for profit and not any legitimate medical purpose. (Id. ¶ 55.)
   2
       See, e.g., Ex. 1 (SOSP_0694247) (
                                                   ; Ex. 2 (SOSP_0307960) (“
                                                                                  ).
   3
    JJHCS also prevailed on motions to compel third-party discovery from SaveOnSP’s partners in its scheme,
   pharmacy benefit manager Express Scripts Inc. and specialty pharmacy Accredo Health Group. These

   CONFIDENTIAL
Case
 Case2:22-cv-02632-JKS-CLW
      2:22-cv-02632-JKS-CLW Document
                             Document316-6
                                      344 Filed
                                           Filed08/06/24
                                                 06/18/24 Page
                                                           Page33ofof77PageID:
                                                                        PageID:28152
                                                                                24200

   The Honorable Freda L. Wolfson                                                                  Page 3


           However, in advance of an October 30 conference before Judge Waldor, SaveOnSP chose
   to file six wide-ranging discovery motions, totaling thousands of pages with exhibits and
   collectively seeking nothing less than a complete restart of document discovery. Judge Waldor
   memorialized her rulings on these motions in a November 7, 2023 Order. Among other things,
   Judge Waldor directed both parties to update their discovery responses, including document
   productions, to November 7, 2023. She further directed the parties to meet and confer concerning
   an extension of the discovery schedule. (See D.E. 173.) As a result, fact discovery has been
   extended once again, this time to April 25, 2024. (See D.E. 177 at 1.)

   III.   Specific Disputes

           Two SaveOnSP applications remain open because SaveOnSP still has not complied with
   Judge Waldor’s order to narrow them. As Judge Waldor observed, SaveOnSP seeks to re-litigate
   two old motions: (i) for additional documents going back more than fourteen years concerning
   the CarePath terms and conditions (D.E. 146), and (ii) for detailed financial information not only
   from JJHCS but from all of its affiliates throughout the entire J&J enterprise on broad issues
   relating to the profitability of Janssen drugs and how Janssen drug prices are calculated, none of
   which is relevant to the case (D.E. 149). When SaveOnSP brought these motions in March, Judge
   Waldor denied them without prejudice as too broad and called the request for additional financial
   information “way out of line.” (D.E. 89 at 35:15-21; see also id. at 34:5-10, 46:13-47:1.)

           On October 30, Judge Waldor expressed her dismay that SaveOnSP made the same overly
   broad applications half a year later. (Oct. 30, 2023 Tr. at 43:2-5. (ruling that SaveOnSP ignored
   her prior instructions from March 2023 “to review and modify [their requests related to terms and
   conditions] so that [SaveOnSP] [wasn’t] asking for everything in the world.”). She repeated this
   admonition to narrow the requests in her November 7, 2023 Order. (See D.E. 173 at 1.) Yet
   SaveOnSP again ignored this Order and refuses to narrow its requests. Given SaveOnSP’s refusal
   to comply with Judge Waldor’s orders, both motions should be summarily denied.

           Otherwise, the parties are not yet at impasse on any other discovery issues. JJHCS
   continues to meet and confer in good faith with SaveOnSP on several discovery requests. We
   respectfully request that Your Honor order that (i) any further motion be promptly filed after
   impasse, and (ii) future disputes be decided after each side submits its own 5-page letter brief. In
   the interim, Your Honor should direct the parties to promptly update our document productions
   and other discovery responses, as required by the Court’s November 7 Order. JJHCS intends to
   substantially complete its document production from both custodial and noncustodial sources by
   the end of January 2024, which will allow sufficient time for depositions to be completed by the
   April 25, 2024 deadline. As of now, SaveOnSP has refused to state unequivocally that it will
   update its discovery responses as ordered, even though the time to seek reconsideration of her
   ruling has long since elapsed. Accordingly, we request that Your Honor take this issue up as the
   first order of business tomorrow, so that SaveOnSP can confirm that it will comply with Judge
   Waldor’s order without caveat or equivocation.

          We look forward to discussing these issues tomorrow.



   motions had to be litigated in Missouri and Tennessee, respectively, because Express Scripts and Accredo
   refused to consent to resolution by Judge Waldor. SaveOnSP submitted an affidavit opposing the motions.

   CONFIDENTIAL
Case
 Case2:22-cv-02632-JKS-CLW
      2:22-cv-02632-JKS-CLW Document
                             Document316-6
                                      344 Filed
                                           Filed08/06/24
                                                 06/18/24 Page
                                                           Page44ofof77PageID:
                                                                        PageID:28153
                                                                                24201

   The Honorable Freda L. Wolfson                                           Page 4


                                             Respectfully submitted,

                                             /s/ Jeffrey J. Greenbaum

                                             JEFFREY J. GREENBAUM

   cc:   All Counsel
          (by email)




   CONFIDENTIAL
Case
 Case2:22-cv-02632-JKS-CLW
      2:22-cv-02632-JKS-CLW Document
                             Document316-6
                                      344 Filed
                                           Filed08/06/24
                                                 06/18/24 Page
                                                           Page55ofof77PageID:
                                                                        PageID:28154
                                                                                24202




                                  EXHIBIT 1

                       SEALED IN ITS ENTIRETY
Case
 Case2:22-cv-02632-JKS-CLW
      2:22-cv-02632-JKS-CLW Document
                             Document316-6
                                      344 Filed
                                           Filed08/06/24
                                                 06/18/24 Page
                                                           Page66ofof77PageID:
                                                                        PageID:28155
                                                                                24203




                                  EXHIBIT 2

                       SEALED IN ITS ENTIRETY
Case
 Case2:22-cv-02632-JKS-CLW
      2:22-cv-02632-JKS-CLW Document
                             Document316-6
                                      344 Filed
                                           Filed08/06/24
                                                 06/18/24 Page
                                                           Page77ofof77PageID:
                                                                        PageID:28156
                                                                                24204




                                  EXHIBIT 3

                       SEALED IN ITS ENTIRETY
